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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ROBERT SULLIVAN,
Plaintiff,

—

Vv.
EXPERIAN INFORMATION C.A. No. 16-11719-MLW
SOLUTIONS, INC., RUSHMORE
LOAN MANAGEMENT SERVICES,
LLC, SELENE FINANCE, LP, And
DOES 1 TO 10, INCLUSIVE,

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Defendants.
MEMORANDUM AND ORDER
WOLF, D.J. October 16, 2020
I. SUMMARY

Plaintiff Robert Sullivan filed his Complaint against
Experian Information Services, Inc., Rushmore Loan Management
Services, LLC, and Selene Finance, LP ("Selene"). See Complaint,
Docket No. 1. Sullivan alleges violations of the Fair Credit
Reporting Act ("FCRA"), 15 U.S.C. §1681 et segq., Mass. Gen. L. c.
93 §54, and the Fair Debt Collection Practices Act ("FDCPA"), 15
U.S.C. §1692 et seq. See id. Selene is the only defendant remaining
in this case. Plaintiff alleges violations of the FCRA (Count I)

and FDCPA (Count IV) against Selene.
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After discovery, Selene moved for summary judgment (the
"Motion"). The Magistrate Judge issued a Report & Recommendation
recommending that the Motion be denied.

The court has reviewed de novo the Report and Recommendation.
See Fed. R. Civ. P. 72(b) (3). The court finds it to be thorough
and persuasive. The court finds that triable issues of fact remain
as to whether Selene violated both the FCRA (Count I) and the FDCPA
(Count IV).

II. THE SUMMARY JUDGMENT STANDARD

Federal Rule of Civil Procedure 56(a) provides that the court
"shall grant summary judgment if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled
to judgment as a matter of law." A factual dispute, therefore,
precludes summary judgment if it is "material" and "genuine."
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

A fact is "material" if, in light of the relevant substantive
law, “it has the potential of determining the outcome of the
litigation." Maymi v. P.R. Ports Auth., 515 F.3d 20, 25 (lst Cir.
2008). "Only disputes over facts that might affect the outcome of
the suit under the governing law properly preclude the entry of
summary judgment." Anderson, 477 U.S. at 248.

To determine if a factual dispute is "genuine," the court
must assess whether "'the evidence is such that a reasonable jury-

could return a verdict for the nonmoving party.'" Chadwick v.
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WellPoint, Inc., 561 F.3d 38, 43 (lst Cir. 2009) (quoting Anderson,
477 U.S. at 248). In making this determination, the court must
"constru[fe] the record in the light most favorable to the non-

moving party." Douglas v. York Cty., 433 F.3d 143, 149 (lst Cir.

 

2005). The record should not, however, be scrutinized piecemeal;

rather, it must be “taken as a whole." Matsushita Elec. Indus.

 

Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Kelly

 

v. Cort Furniture, 717 F. Supp. 2d 120, 122 (D. Mass. 2010).
Evidence submitted in inadmissible form may be considered only if
it could be presented in a form that would be admissible at trial.
See Fed. R. Civ. P. 56(c) (2); Gorski v. N.H. Dep't Corr., 290 F.3d
466, 475-76 (lst Cir. 2002).

The party moving for summary judgment "bears the initial
responsibility of informing the district court of the basis for
its motion, and identifying those portions of [the record] which
it believes demonstrate the absence of a genuine issue of material
fact." Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). However,
the moving party’s burden "may be discharged by showing ... that
there is an absence of evidence to support the nonmoving party’s
case." Id. at 325 (internal quotation marks omitted). Therefore,
summary judgment is mandated "after adequate time for discovery
and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to
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that party’s case, and on which that party will bear the burden of
proof at trial." Id. at 322.

III. FACTS

The following facts are undisputed. In 1983, plaintiff
purchased a residential property at 11 Mile Brook Road in West
Bridgewater, Massachusetts.} He refinanced the mortgage loan on
this property in 2004 with Washington Mutual. In about March 2006,
he was laid off from his job and fell behind on monthly mortgage
payments. He then applied for Chapter 13 bankruptcy protection,
which he dismissed, and then unsuccessfully attempted to negotiate
a loan modification with Washington Mutual.

Plaintiff subsequently filed for Chapter 7 bankruptcy. On
August 13, 2007, his remaining debts were discharged in the
bankruptcy. Those debts included the mortgage on his residence.

In order to ensure his residence was not lost in foreclosure,
plaintiff signed a Foreclosure Repayment Agreement ("FRA") with
his then-mortgage holder, GMAC Mortgage LLC ("GMAC"), which had
evidently acquired the loan from Washington Mutual. The FRA
indicated that his mortgage was in default for non-payment. Under
the FRA, GMAC would “suspend but not terminate" foreclosure, if it

received a payment of $5,000 before December 20, 2007, and if

 

1 It is not clear who provided plaintiff's original mortgage loan.

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plaintiff agreed to pay the remainder of his default on an agreed-
upon schedule. Plaintiff maintains that he made this initial
payment and continued making on-time payments.

Between November 2014 and May 2015, Selene sent plaintiff
several letters advising plaintiff that he was delinquent on his
mortgage, some of which assessed him late fees. After having been
transferred to several other servicers and holders, plaintiff's
loan was transferred to Selene by Rushmore Loan Management Services
LLC in August 2014. Plaintiff alleges that Selene sent him a
"Notice of Default and Intent to Accelerate" in January 2016, which
stated that his mortgage was in default and demanded additional
payments to cure the default. Selene subsequently sent him a notice
of intent to foreclose in August 2016.

In April 2016, plaintiff received a copy of his credit report
which indicated that Selene had reported his mortgage as late from
December 2014 to January 2016. The report indicated plaintiff had
a past due balance on his mortgage loan and that foreclosure
proceedings had begun. However, it did not indicate that
plaintiff's personal obligation on the loan had been discharged in
bankruptcy.

Plaintiff disputed the accuracy of Selene's reporting in a
May 2016 letter to Experian, a credit reporting agency. The

disputed information was eventually deleted. However, a letter
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from Experian indicated it was still on plaintiff's credit report
in June 2016.

IV. PROCEDURAL BACKGROUND

The court referred this case to the Magistrate Judge for all
pretrial purposes. Defendants initially moved for summary judgment
on November 2, 2017. See Docket No. 45. On July 27, 2018, the
Magistrate Judge denied this motion without prejudice following
oral argument to allow the parties to go to mediation. See Docket
No. 100. The mediation was unsuccessful. Selene, therefore,
renewed its motion for summary judgment.

As indicated earlier, the Magistrate Judge issued a Report
and Recommendation recommending that the court deny Selene's
renewed motion for summary judgment (Docket No. 113) in its
entirety. See Docket No. 126. On July 16, 2019, Selene timely filed
an objection to this Report. See Docket No. 127. Plaintiff filed
a reply. See Docket No. 128.

V. DISCUSSION

A. Fair Credit Reporting Act Claim (Count I)

Plaintiff's first claim is that Selene violated the FCRA by
providing inaccurate information to credit reporting agencies
concerning the balance due on plaintiff's mortgage, even though
Selene had knowledge that plaintiff had disputed the contents of

the reports. See Complaint at 1987-88. The Magistrate Judge
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recommended denying Selene's motion for summary judgment as to
this count. See Rep. & Rec. at 7-11.

Selene argues that it could not have violated the FCRA because
the information it furnished to CRAs was "accurate," and objects
to the Magistrate Judge's finding that a dispute of material fact

exists. See Objections at 2-3.

1. Legal Standard

The FCRA requires that "furnishers of information" such as
Selene have a duty "to provide accurate information" to credit
reporting agency ("CRA"), such as Experian. 15 U.S.C. § 1681s-
2(a). In particular, 15 U.S.C. § 1681s-2(a) states that a furnisher
of information may not provide "any information relating to a
consumer" to a CRA if the furnisher "knows or has reasonable cause
to believe that the information is inaccurate." 15 U.S.C. §1681s-
2(b) sets forth the obligations of furnishers, such as Selene,
when a consumer disputes the accuracy or completeness of
information in the consumer's credit report. See Chiang v. Verizon
New Eng., Inc., 595 F.3d 26, 35 (lst Cir. 2010).

As the First Circuit wrote in Chiang, "[w]Jhen a [consumer]
disputes credit information to a CRA, the CRA must advise the
furnisher of that data that a dispute exists and provide the
furnisher with ‘all relevant information regarding the dispute
that the agency has received from the consumer.'" Id. at 35

(quoting 15 U.S.C. § 1681li(a) (2) (A)). After a plaintiff notifies
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the CRA of the inaccuracy, the CRA must advise the furnisher. When
the CRA notifies the furnisher, the "furnisher must:

(A) conduct an investigation with respect to
the disputed information;

(B) review all relevant information provided
by the consumer reporting agency;

(C) report the results of the investigation to
the consumer reporting agency;

(D) if the investigation finds that the
information is incomplete or inaccurate,
report those results to all other consumer
reporting agencies to which the _ person
furnished the information and that compile and
maintain files on consumers on a nationwide
basis; and

(E) if [a disputed item] is found to be
incomplete or inaccurate or cannot be verified
. . , for purposes of reporting to a [CRA]
only, as . . . based on the results of the
reinvestigation . . . - (i) modify that item
of information; (ii) delete [it]; or (iii)
permanently block the reporting of that item
of information."
Chiang, 595 F.3d at 35-36 (citing 15 U.S.C. §1681s-2(b)(1)). The
First Circuit has recognized that consumers have a private right
of action under §1681s-2(b) when a furnisher fails to conduct a
reasonable investigation after a CRA has advised the furnisher
that the consumer has disputed the reporting. See Chiang, 595 F.3d
at 36. "Mere incompleteness" of an investigation, however, is not
sufficient; to prevail on such a claim the plaintiff must first

"show actual inaccuracies that a furnisher's objectively

reasonable investigation would have been able to discover." See

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Id. at 30, 37. Accordingly, the plaintiff must make a showing that
the “disputed information was, in fact, inaccurate." Id. at 38

(quoting DeAndrade v. Trans Union LLC, 523 F.3d 61, 68 (1st Cir.

 

2008)). "Courts have held that a credit report is not accurate
under FCRA if it provides information in such a manner as to create
a materially misleading impression." Saunders v. Branch Banking

and Tr. Co. Of VA, 526 F.3d 142, 148 (4th Cir. 2008).

 

2. Analysis

The Magistrate Judge recommended denying Selene's Motion for
Summary Judgment because she found it did not demonstrate the
absence of disputes of material fact regarding "whether
plaintiff's credit report was sufficiently misleading to trigger
the protections of § 1681s-2(b)," and because Selene does not
assert that it conducted an investigation regarding the accuracy
of the information plaintiff disputed to Experian. See Report &
Recomm. at 11-12. The Magistrate Judge acknowledged that Selene's
arguments in its motion for summary judgment memorandum focused on
whether its reporting of the balance and foreclosure was accurate.
However, as she explained, whether the reporting was legally
permissible was not dispositive, as a plaintiff need only
demonstrate that a credit report contained “factual
inaccurac[ies]". See id. at 11 (quoting Chiang, 595 F. 3d. at 38).
Since the credit report "alluded to [plaintiff] being individually

responsible for making his loan payments," a jury could conclude

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that this reporting was sufficiently misleading to trigger the
protections of §1681s-2(b). See Rep. and Rec. at 1l.

Selene now objects to the Magistrate Judge's recommendation
by asserting that "Selene is within its rights to report a
discharged debt to the credit bureaus where the Plaintiff has
affirmatively and repeatedly sought to continue aie credit
relationship with Selene." Docket No. 127 at 2. Selene contends
that the Magistrate improperly focused on the misleading nature of
the reporting because, according to Selene, "the law is clear"
that a creditor is allowed to continue reporting bankruptcy-
discharged debt when a credit relationship is maintained. See id.

Selene's objection is not meritorious. This objection is a
reiteration of an argument Selene made to the Magistrate Judge:
that its reporting was accurate because it is legally permissible
for a creditor to report a bankruptcy-discharged debt to the credit
bureau when a credit relationship is maintained. See MSJ 4417-18.
However, as the Magistrate Judge correctly indicated, the issue of
whether Selene was allowed to report the outstanding debt and
foreclosure without reporting the bankruptcy is not the relevant
inquiry under §1681s-2(b). A credit report that is misleading,
even if "technically accurate," can qualify as not accurate under
the FCRA. See Saunders, 526 F.3d at 148.

The Magistrate Judge noted that plaintiff's credit report did

not indicate that plaintiff's personal obligation on the mortgage

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had been discharged in bankruptcy, and included "individual" in
the section of the report labeled "responsibility." See Rep. and
Rec. at 5 (citing Docket No. 115-11 (Experian Credit Report)).
Here, regardless of whether Selene was "allowed" to report the
information regarding plaintiff's mortgage to CRAs in this way,
the credit report could, in the view of a reasonable juror, be
deemed misleading because it suggested that plaintiff was

personally responsible for this loan. See Venugopal v. Digital

 

Fed. Credit Union, 2013 U.S. Dist. LEXIS 43829, *9 ("(Wjhile

 

Defendant's reporting to Experian about the alleged debt may have
been technically accurate, it still could have been misleading so
as to materially alter the understanding of the debt.").

As it did in its motion for summary judgment, Selene relies

heavily on Lance v.PNC Bank, N.A., No. 15-10250-FDS, 2015 WL

 

9437090, at *1 (D. Mass. Sept. 15, 2015). However, Lance did not
present the issue of whether reporting of bankruptcy-discharged
debt could serve as the basis of a §1681s2-(b}) claim. See Chiang,
585 F.3d at 37. In fact, Lance did not involve obligations under
the FCRA at all. Rather, in Lance, the court was only presented
with the claim that the creditor's reporting of a balance owed to

credit agencies violated the bankruptcy discharge injunction under

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11 U.S.C. § 524.2 See Lance, 2015 WL 5437090 at *2. That reporting
of a discharged debt to CRAs may not constitute a violation of a
bankruptcy discharge injunction does not mean that this
information cannot constitute the basis of a §1681s2-(b) claim if
reported in a misleading fashion.

The Magistrate Judge also correctly recognized that a genuine
dispute as to a material fact exists with regard to the
reasonableness of Selene's investigation into the accuracy of its
reporting once plaintiff had disputed this information. See Rep.
& Rec. at 12. As the First Circuit has written, "the central
inquiry when assessing a consumer's claim under § 1681s-2(b) is
"whether the furnisher's procedures were reasonable in light of

what it learned about the nature of the dispute from the

 

2 The court found the plaintiff's claims under the Massachusetts
Credit Reporting Act and Mass. Gen. L. c. 93A to be preempted by
the FCRA. See id. at 4-5.

3 A claim under §1681s2-(b) was unlikely to be successful in Lance
due to significant factual difference between that case and the
instant case. There, the CRA reported a past due balance and a
foreclosure on the plaintiff's mortgage, which had been discharged
in bankruptcy, without disclosing that the mortgage had been
discharged. See id. at *1. However, once the plaintiff informed
the furnisher that the mortgage was being improperly reported, the
furnisher promptly corrected the reporting and instructed credit
bureaus to report the loan as discharged. Lance, 2015 WL 5437090,
at *1. Further, a consumer has no private right of action under
§1681s2-(b) when, as in Lance, the consumer disputes information
directly to a furnisher rather than to a CRA. See Chiang, 595 F.3d
at 35.

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description in the CRA's notice of dispute.'" Chiang, 595 F.3d at
38. Selene makes no argument about the reasonableness of its
investigation and, indeed, provides no evidence of whether or how
it conducted such an investigation. Drawing all reasonable
inferences in plaintiff's favor, a fact finder could conclude that
Selene failed to conduct a reasonable investigation. See id.

B. Fair Dept Collection Practices Act

Plaintiff's second claim is that Selene violated the FDCPA by
attempting to collect on a debt that was no longer owed in
violation of 15 U.S.C. §1692. See Complaint %11106-107; Docket No.
114 at 20-23. The Magistrate Judge recommended denying Selene's
motion for summary judgment as to this count. See Rep. & Rec. at
12-18.

Selene objects to the Magistrate Judge's conclusion that

Selene was a "debt collector" as defined by the FDCPA.

1. Legal Standards

As the First Circuit has stated, "[t]he FDCPA is a landmark
piece of consumer credit legislation designed to eliminate
abusive, deceptive, and other unfair debt collection practices."
Arruda v. Sears, 310 F.3d 13, 22 (1st Cir. 2002) (citing 15 U.S.C.
§1692). Liability under the FDCPA is based on the “improper conduct
on the part of ‘debt collectors' in collecting 'debts' owed or

allegedly owed by 'consumers.'" Hart v. GMAC Mortg. Corp. (In re

 

Hart), 246 B.R. 709, 729 (Bankr. D. Mass. 2000). More specifically,

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to establish a FDCPA claim, a plaintiff must establish three
elements: "(1) that [plaintiff] was the object of collection
activity arising from consumer debt; (2) defendants are debt
collectors as defined by the FDCPA; and (3) defendants engaged in
an act or omission prohibited by the FDCPA." O’Connor v. Nantucket
Bank, 992 F. Supp. 2d 24 (D. Mass. 2014) (internal citations and

quotation marks omitted).

2. Analysis

Selene moved for summary judgment with respect to the FDCPA
claim (Count IV) on the basis that the FDCPA does not apply to
either the plaintiff or itself because plaintiff does not qualify
as a consumer and Selene does not qualify as a debt collector. See
Mot. for Summary Judgment at 9-10. The Magistrate Judge determined
that Selene qualifies as a "debt collector under the FDCPA." She
relied in particular on Shaw v. BAC Home Loan Servicing, LP, in
which the court concluded that "a mortgage servicer is a debt
collector under each of the provisions of the FDCPA if it begins
servicing a loan that is already in default." See Rep. & Rec. at
13 (citing 2015 U.S. Dist. LEXIS 4929, at *12 (D. Mass. Jan. 15,
2015)). This is an exception to the general rule that an entity
enforcing security interests is not considered a "debt collector"
under the general provisions of the FDCPA. See Speleos v. BAC Home

Loans Servicing, L.P., 824 F. Supp. 2d 226, 232 (D. Mass. 2011).

 

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Selene objects to this conclusion. It argues that the
Magistrate Judge erred in finding that this exception is
applicable, and that Selene cannot be considered a "debt collector"
because it was only enforcing a security interest. Def. Obj. at
4-5.

Specifically, Selene relies on a paragraph in Shaw which
states that:

The analysis, however, does not stop there.
The purpose of a "debt collector" is to
collect a "debt," a term also defined by the
FDCPA" and a "debt" is “any obligation or
alleged obligation of a consumer to pay money
arising out of a transaction. . . . Here,
pursuant to Shaw's Chapter 7 bankruptcy
discharge, she is not liable for any
deficiency between the price secured at
foreclosure and the amount owed on the
Mortgage" .. . . See Arruda v. Sears, Roebuck
& Co. et al., 310 F.3d 13, 23 (lst Cir. 2002)
(stating that "[t]Jhe FDCPA's definition of a
debt is broad, but it requires at least the
existence or alleged existence of an
obligation to pay money" and that it would
"contradict the plain language" of the statute
if a discharged debt satisfied the
requirements of the FCDPA).

Shaw, 2015 U.S. Dist. LEXIS 4929, at *13.

The court understands Selene's argument to be that because
plaintiff's personal liability on the mortgage had been discharged
in bankruptcy, the exception recognized in Shaw does not apply
here, and Selene therefore cannot be considered a debt collector
under the FDCPA. However, the First Circuit held in Arruda that

although the FDCPA "requires at least the existence or alleged

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existence of an obligation to pay money," ai plaintiff,
nevertheless, "may bring a claim under the FDCPA by pleading that
a debt collector falsely alleged an obligation to pay money." See
Arruda, 310 F.3d at 23 (emphasis added).

Selene also claims that the reliance on the holding in Arruda
that "a plaintiff may bring a claim under the FDCPA by pleading
that a debt collector falsely alleged an obligation to pay money”
is inapplicable because there is “no evidence whatsoever that
Selene told the Plaintiff to pay money that he was not obligated
to pay." See Def. Obj. at 6.4 In particular, Selene claims that
the Magistrate Judge "fails to cite any evidence or language that
Selene, in any way, was communicating to the Plaintiff that he
owed Selene a personal debt." Id. However, these assertions are
not correct. The Magistrate Judge pointed to multiple pieces of
evidence supporting a claim that Selene communicated with the

plaintiff concerning the debt he owed. In particular, she

 

4 In its Objections, Selene characterizes the Report and
Recommendation as relying on Arruda to find that Selene was a "debt
collector." However, the Magistrate Judge relied on the part of
the Arruda judgment on which Selene focuses to find that plaintiff
was a "consumer" under the FDCPA. Regardless of whether Selene
intends its Objection to be directed towards the Magistrate Judge's
conclusion concerning the definition of "debt collector" or
"consumer", or both, it is not meritorious. The FDCPA defines a
"consumer" as "any natural person obligated or allegedly obligated
to pay any debt.” 15 U.S.C. §1692a(3) (emphasis added). As
explained infra, a jury could find that Selene's communications
falsely alleged that plaintiff owed Selene money.

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referenced statements sent from Selene to Sullivan indicating
amounts due on his loan. See Report & Rec. at 16 (citing Docket
No. 114-6; Docket No. 115-10 at 6, 9, 10, 15, 17, 18).

Similarly, the court's conclusion in Shaw that the servicer
in that case had not sought to collect a "debt" as defined by the
FDCPA hinges on an important factual distinction. In Shaw, the
basis of the plaintiff's FDCPA claim was the defendant's
foreclosure on her property. Id. at *8. The notice of sale sent to
the plaintiff stated that "if you are currently in bankruptcy or
have received a discharge in bankruptcy as to this obligation,
this notice is intended for information purposes only and is not
an attempt to collect a debt." Id. at 15. This disclaimer, combined
with the fact that the notice only indicated that the servicer
intended to pursue the in rem remedy of foreclosure, would
communicate that the servicer was not alleging that the consumer
was personally liable for any amounts owed on the mortgage. The
court in Shaw concluded that the bank was not attempting to collect
a "debt" as defined by the FDCPA simply by foreclosing on
plaintiff's property, and sending notices regarding foreclosure,
after the mortgage had been discharged in bankruptcy. See id. at
15-16.

Here, by contrast, Selene sent various communications to
plaintiff which asserted an “Amount Due”, that plaintiff was

delinquent on his mortgage loan, and that Selene "is a debt

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collector attempting to collect a debt." See, e.g., Docket No.
114-6; Docket No. 115-10 at 6, 8, 10, 15, 17, 18. While Selene may
be able to convince a jury that, as it argues, this correspondence
did not assert that plaintiff owed Selene the discharged debt as
it occurred in the context of a voluntary loan modification
agreement which plaintiff had requested, a dispute of material
fact exists. See Docket No. 127 at 6. Notwithstanding the fact
that plaintiff's personal liability was discharged in the
bankruptcy, a jury could find such communications to "falsely
allege[]" that plaintiff owed money to Selene. See Arruda, 310
F.3d at 23 (emphasis added). Therefore, the Magistrate Judge did
not err in recommending that a genuine issue of fact remains as to
whether Selene qualifies as a "debt collector" under each of the
provisions of the FDCPA.

VI. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. The attached Magistrate Judge's Report and Recommendation
(Dkt. No. 126) is ADOPTED pursuant to 28 U.S.C. §636(b) (1).

2. The parties shall confer and, by November 6, 2020, report:
(a) whether they have agreed to settle this case; if not, (b)
whether they jointly request mediation by a Magistrate Judge; and,
if not (c) whether they consent to trial by a Magistrate Judge.

3. If necessary, the court will schedule a pretrial

conference and trial date.

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